     Case 4:09-cr-00043-SPF Document 80-5 Filed in USDC ND/OK on 06/15/09 Page 1 of 2
                                                 U.S. Departme~ Jf Justice
                                                 Tax Division


                                                  Western Criminal Enforcement Section
                                                  P.D. Box 972, Ben Franklin Station (202) 514-5762
                                                  Washington. D.C. 20044 Telefax: (202) 514-9623

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      5-59N-7848
      2000201076
      CERTIFIED MAIL - RETURN RECEIPT REQUESTED

      David E. 0' Meilia, Esquire
      United States Attorney
      Northern District of Oklahoma
      110 West 7th Street
      Suite 300
      Tulsa, Oklahoma 74119

      Attn: AUSA Loretta Ragford
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c.
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C!                      Re: Grand Jury Investiqation
                                Patterson et al. Investigation
                                Northern District of Oklahoma
                                5-59N-7848
                                Concerning: Oscar A. Stilley

       Dear Mr. 0' Meilia:
            Reference is made to a letter dated January 6, 2007, from
       the Special Agent-in-Charge, Internal Revenue Service, Dallas,
       Texas, recommending that this grand jury investigation be
       expanded to include the above-named individual as a target.

            After careful consideration, the Tax Division has determined
       that the grand jury investigation should be expanded to include
       Oscar A. Stilley as a target, and you are requested to initiate
       such action. Please refer to the Tax Division transmittal letter
       dated June 10, 2005, for additional information regarding this
       investigation. The procedures contained therein apply to this
       new target. If you have any questions about this case, you may
       contact Tax Division attorney Charles E. Pell at 202-616-3856.
       Please acknowledge receipt of this letter and its enclosures.

                                             Sincerely yours,

                                        EILEEN J. 0' CONNOR
                                      Assistant Attorney General
                                               Tax Division
Case 4:09-cr-00043-SPF Document 80-5 Filed in USDC ND/OK on 06/15/09 Page 2 of 2
                                      - 2 -



                               By:            5!Z/J
                                         RONALD A. CIMINO
                                     Chief, Western Criminal
                                        Enforcement Section
 Enclosure

 cc: Special Agent-in-Charge
      Dallas, Texas




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